
17 N.Y.3d 848 (2011)
954 N.E.2d 1168
930 N.Y.S.2d 542
GERMELIA JOSEPH, Respondent,
v.
GEORGE ATHANASOPOULOS et al., Defendants, and
HDMJ RESTAURANT, INC., Appellant.
No. 221
Court of Appeals of New York.
Decided September 15, 2011.
Concur: Chief Judge LIPPMAN and Judges CIPARICK, GRAFFEO, READ, SMITH, PIGOTT and JONES.
Certification of question by the United States Court of Appeals for the Second Circuit, pursuant to section 500.27 of the Rules of Practice of the Court of Appeals (22 NYCRR 500.27), accepted and the issues presented are to be considered after briefing and argument.
